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                                    UNITED STATS DISTRICT COURT
                                    EASTER DISTRICT OF MISSOURI
                                      SOUTHEASTERN DIVISION

        IN RE: DICAMBA HERBICIDES                   )            Master Case No. 1:18-md-2820 SNLJ
        LITIGATION                                  )
                                                    )              MDL Docket No, 2820
        This Document Relates to:                   )
        Bruce Farms Partnership, et al.             )
        v. Monsanto, et al.,                        )
        Case No. 1:18-cv-0026-SNLJ                  )

               MOTION TO DISMISS WITHOUT PREJUDICE TO ALL DEFENDANTS

        COME NOW Plaintiffs, Plaintiff, Plaintiff, Phillip Jackson, individually and collectively brought

        against Defendant Monsanto Company, et al without prejudice, each party to bear its own costs.


        Date: December 27, 2021                                    Respectfully submitted,

                                                                         Paul Byrd

                                                                   Paul Byrd, Ark. Bar No. 85020
                                                                   (pro hac admitted)
                                                                   Paul Byrd Law Firm, PLLC
                                                                   415 N. McKinley St., Suite 210
SO ORDERED this 10th day of January, 2022                          Little Rock, Arkansas 72205
                                                                   Tel: 501-420-3050
                                                                   Fax: 501-420-3128
                                                                   Paul@Paulbyrdlawfirm.com
                                                                   Counsel for Plaintiffs
STEPHEN N. LIMBAUGH,JR.
SENIOR UNITED STATES DISTRICT JUDGE
Case: 1:18-md-02820-SNLJ Doc. #: 619 Filed: 01/10/22 Page: 2 of 2 PageID #: 16358




                                  CERTIFICATE OF SERVICE

         The undesigned certifies that on December 27, 2021 , the foregoing document was filed

  electronically with the Clerk of Court to be served by operation of the Court's electronic filing

  system upon all counsel of record.


                                                                     Paul Byrd
